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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-94-00457-CR&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;Kenneth Ray Tealer, Appellant&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT&lt;/CENTER&gt;
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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. 93-328-K368, HONORABLE JOHN R. CARTER, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	A jury found appellant guilty of one count of aggravated sexual assault and four
counts of indecency with a child.  The jury assessed punishment at imprisonment for sixty years
for the aggravated sexual assault and at imprisonment for twenty years for each count of indecency
with a child.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	Appellant's court-appointed attorney filed a brief in which he concludes that the
appeal is frivolous and without merit.  The brief meets the requirements of &lt;EM&gt;Anders v. California&lt;/EM&gt;,
386 U.S. 738 (1967), by presenting a professional evaluation of the record demonstrating why
there are no arguable grounds to be advanced.  &lt;EM&gt;See also&lt;/EM&gt; &lt;EM&gt;Penson v. Ohio&lt;/EM&gt;, 488 U.S. 75 (1988);
&lt;EM&gt;Gainous v. State&lt;/EM&gt;, 436 S.W.2d 137 (Tex. Crim. App. 1969); &lt;EM&gt;Jackson v. State&lt;/EM&gt;, 485 S.W.2d 553(Tex. Crim. App. 1972); &lt;EM&gt;Currie v. State&lt;/EM&gt;, 516 S.W.2d 684 (Tex. Crim. App. 1974); &lt;EM&gt;High v.
State&lt;/EM&gt;, 573 S.W.2d 807 (Tex. Crim. App. 1978).  A copy of counsel's brief was delivered to
appellant, and appellant was advised of his right to examine the appellate record and to file a pro
se brief.  No pro se brief has been filed.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	We have reviewed the record and counsel's brief and agree that the appeal is
frivolous and without merit.  Further, we find nothing in the record that might arguably support
the appeal.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	The judgment of conviction is affirmed.&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Before Justices Powers, Jones and B. A. Smith&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Affirmed&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Filed:   April 24, 1996&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

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